
                                                                    







				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-02-440-CV





IN RE CHRISTOPHER A. FAULKNER,	RELATOR

CREATIVE INNOVATIONS, INC., CI

HOST, INC., AND CAROLE FAULKNER





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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and real party's in interest brief and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL B:	HOLMAN, GARDNER, and WALKER, JJ.



[DELIVERED FEBRUARY 6, 2003]

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




